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                                                         Exhibit A to the Complaint
Location: Edison, NJ                                                                                IP Address: 47.18.110.185
Total Works Infringed: 38                                                                           ISP: Optimum Online
 Work     Hashes                                                                UTC          Site          Published     Registered   Registration
 1        Info Hash: 0FF21DB47570BAEEF0267354B90BE51314421DED                    12/08/2024 Blacked        12/04/2024    12/13/2024   PA0002506268
          File Hash:                                                                21:39:33
          D41049225B0241201AECE2ACB5E7D8ADEC71683EDB14B6CA1151E6EEE75ACE39
 2        Info Hash: 42D6E34ED86FA3012FCE9F4930A62533F2AB23EF                    12/08/2024 Milfy          12/04/2024    12/13/2024   PA0002506316
          File Hash:                                                                21:33:12
          7EC0222162C6FE9484CBDC310680C282218D54752B5C95D09BD72B214DB23370
 3        Info Hash: 967734E49BCB70929CF9A8D698E03386657400D1                    11/24/2024 Vixen          07/23/2017    08/10/2017   PA0002046877
          File Hash:                                                                22:51:44
          C5FF04FA188646F16D5A6432C23762141D8910D23FE7DC14D4A72274AE685ABD
 4        Info Hash: AA58BF548B8FDBBBA1396873F3177059AEFE4A8B                    11/24/2024 Tushy          05/21/2018    07/14/2018   PA0002131769
          File Hash:                                                                22:49:06
          DE8E5F7B76A59C90C5F309B07C8E901E01FE425A0F4B48BECF5EEAD91BE9409F
 5        Info Hash: CC3700F98B08B30C8BDAA9B5C69A30DEEE9E904A                    11/24/2024 Blacked        08/05/2018    09/01/2018   PA0002119682
          File Hash:                                                                22:19:45 Raw
          2297CCF49B1FA7E5BA18A70925F463F3E1FD2EC8846151916A53AEDC7E370E43
 6        Info Hash: 27E4DD8D42171C0AAB831058840F10E83EDC7AFD                    11/24/2024 Vixen          10/26/2018    12/10/2018   PA0002145824
          File Hash:                                                                22:18:55
          8884B792ACF326192D6E2488299982EC9AF0E58EC725E9871EAA7643B5D1733D
 7        Info Hash: C5575641F9885C6E35D0C8B31ACB226551423597                    11/24/2024 Tushy          07/20/2018    09/05/2018   PA0002134598
          File Hash:                                                                22:07:45
          F9A28D3FA1F8DC128EE3A609A4D3073CC8BA31D809D27C5E74024796699BDB9B
 8        Info Hash: D2712E38602D277959460700679D964FDBA05E71                    11/08/2024 Blacked        11/04/2024    11/18/2024   PA0002500995
          File Hash:                                                                00:51:12
          382729C28BA6DEECA899C06FF20B16B2DA06AD96719BE6370164A4F4217E518D
 9        Info Hash: 15678AF6623A38FA107F2E3C7FAFD2AB16F9DA83                    11/04/2024 Tushy          11/03/2024    11/18/2024   PA0002500920
          File Hash:                                                                21:25:55
          4B50EE1128A1C6FBEF6F6FFED466C6B82F8B0DD6F03D1C23E15B22B5A65BF79C
 10       Info Hash: EC725AF0DDD00C9F1AA98B3ED02D3A88350B7871                    10/31/2024 Blacked        02/13/2019    03/11/2019   PA0002158597
          File Hash:                                                                21:14:33
          3651ECD4975F6B9C078753CDC1E1029832E80FA166C6BFF5F86A1DA90864320C
 11       Info Hash: 7BCF5DD8FF98DB562425AC9215643C8F46F10E10                    10/31/2024 Blacked        10/30/2024    11/18/2024   PA0002501014
          File Hash:                                                                21:14:08
          6CA4C0F43213FE7E2DE1B37C3470D9CA9D3822FA7C2493970A302FC98F98A6D5
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Work   Hashes                                                             UTC          Site     Published    Registered   Registration
12     Info Hash: 6F80ADC7AD78E41737CD90B771573DFE20CAA805                10/26/2024 Tushy      09/22/2024   10/16/2024   PA0002494781
       File Hash:                                                            16:22:04
       B95D86D5D322D19688D940EEF4611BAED29DF0FC6ED5410602131A8AFCCFB68E
13     Info Hash: 22927D14C0C31A6E0B0794F236A36905D126CD21                10/26/2024 Tushy      05/26/2024   06/19/2024   PA0002476873
       File Hash:                                                            16:20:38
       573FECFABEFF986D9A03896CC8C72E3D5EECA7AFC2F0924D02F5ADEEE3919F05
14     Info Hash: BB99D8516F04910F451D18008CCEC6F3CD62B98C                10/26/2024 Tushy      03/26/2023   04/07/2023   PA0002405762
       File Hash:                                                            16:08:16
       D9C2EADED3AC48870AEA51285CDEBB6AAA0F0248CAB422102E1BE4CF45DCD60F
15     Info Hash: A680D284B973E8D0B1AD72BE2F801B73B5B56AFD                10/26/2024 Milfy      08/21/2024   09/17/2024   PA0002490356
       File Hash:                                                            16:01:31
       2D72E266D2143D81207BA593F36FE06274F4CC29D8DBF9471600B190E1C9AAEC
16     Info Hash: ACD42922294209D40321CB16502C56911B30FC7B                10/26/2024 Milfy      08/09/2023   12/05/2023   PA0002443594
       File Hash:                                                            15:54:13
       D67C349AAD2CE906B4679AADB95657A30D14344B520ADCFA5433534B634CC220
17     Info Hash: E66215C7663C7EB92195BCC39A7634B78DDA4DB0                10/26/2024 Milfy      04/03/2024   06/24/2024   PA0002477489
       File Hash:                                                            15:53:54
       2F67958A520B51E4B5293ABB7FCC18EA62D1E002AAA88DE30E70C179DDDEE21F
18     Info Hash: 51DF1F6772557F01FB0268FCF76B68C249980A87                10/26/2024 Milfy      02/07/2024   03/15/2024   PA0002461447
       File Hash:                                                            15:53:54
       F4D36B641D325661124A72CB9A54E3192FB1CC4AC07FA6D5DA10922617092AC1
19     Info Hash: 3C377335231F8DA1D75D6D95999C0F83393D19B4                10/26/2024 Milfy      09/04/2024   09/18/2024   PA0002490440
       File Hash:                                                            15:35:36
       54F2015B6A5A672A56B2619C4EA46A36CF489C5EBE77365CE9422A70931E3CF5
20     Info Hash: 8F2DA95E6D53EDB6BE7BA538BBFDC8D7ACC86A7E                10/26/2024 Milfy      08/14/2024   09/17/2024   PA0002490354
       File Hash:                                                            15:13:13
       295DA681276A2E1A9FEDED73B52E6C60BF6D4BC721B0F93E8499627CD0C9620D
21     Info Hash: B3E094EDF789D31E7F5B50DAF5E30672CF33492A                10/26/2024 Milfy      07/26/2023   08/22/2023   PA0002431040
       File Hash:                                                            15:09:46
       FDF3D1E9FD0136F736F715E05FF2B1A5F96CC17CE5E3EDBDD7B5D081125AF851
22     Info Hash: 73BE5903414CE597312676BB41D3262030AB6B24                10/26/2024 Milfy      10/25/2023   12/07/2023   PA0002446668
       File Hash:                                                            15:09:04
       A93A70B67B8234D8BFD2FB190240771074B8E0176639191258129B0E0896A73E
23     Info Hash: B9689796B0AF3FA2697DDEF7BC6E0B909E54CBAC                10/26/2024 Milfy      07/12/2023   08/22/2023   PA0002431037
       File Hash:                                                            15:03:26
       2B9F3E775A814739DB463BB6AD55433B1B04C91F790D5BB11AE504AE36B3B91E
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Work   Hashes                                                             UTC         Site     Published    Registered   Registration
24     Info Hash: 794332F926418911ED14F2AEA717650249800BEA                10/26/2024 Milfy     05/22/2024   06/20/2024   PA0002477021
       File Hash:                                                            14:58:43
       927A9AB966D6ABBD0AEC6802B8D8F7873F8030B428D95812706A95B85D183303
25     Info Hash: 85999519B7236A1DF2663196290EB920C69320B9                10/26/2024 Milfy     08/28/2024   09/17/2024   PA0002490357
       File Hash:                                                            14:57:02
       7F2EE09E9900305DD6F1BC24A2F455D82CD817284FBCDF6DB51204232030E0B9
26     Info Hash: F8742C2B5E78FD687E75917C0BE9A676B25732E9                10/26/2024 Milfy     05/29/2024   09/05/2024   PA0002491135
       File Hash:                                                            14:55:07
       E20BA33FF5BA3DCC0932C20C0165F02B981EE3CD0760E9934F3B643A03781CEA
27     Info Hash: B9F28F3683BFF39D31ADC2C385ED78415697736C                10/26/2024 Milfy     01/10/2024   03/28/2024   PA0002462578
       File Hash:                                                            14:54:54
       9A3281BB624A034C0A5D7A8377DAD3AB0EB093AAA99CEC7A2A4CFA96DF7B9596
28     Info Hash: 31469BA4071D5804172DE1DAF17E860BC7370F37                10/26/2024 Milfy     03/27/2024   06/24/2024   PA0002477488
       File Hash:                                                            14:54:03
       957B78F676692A1178A0ED6D66DA6BCB1F9A6CCC36DAB257FC2B26F62E315A1E
29     Info Hash: 9EA7F88F04971469352A1832DF8AD46A49C774DB                10/26/2024 Milfy     07/31/2024   09/17/2024   PA0002490325
       File Hash:                                                            14:52:57
       EDD67CB301195299C08639072DEA901FBF37D9DA106E53E7A98CF2DFDD3B3543
30     Info Hash: C6B4A5CF63962B141E147F0E0A8812FE3F4EE4AC                10/24/2024 Milfy     10/23/2024   11/18/2024   PA0002500970
       File Hash:                                                            21:16:37
       7FBC55214B6BAA8DCDF7273B4046C2D6DBCB3DAA0BA004D1241C5C4650E95DE9
31     Info Hash: 3647C2C2C3D0741594546228A2F29C0460F6434E                08/26/2024 Tushy     01/11/2019   01/22/2019   PA0002147904
       File Hash:                                                            22:47:11
       0C5D5D7B5A1E1A08B2167A0664697DB0EE283241380827D030B90393C8C9BD17
32     Info Hash: 31BD44884B5FA18595EF1307F00D981F3D161EA8                08/26/2024 Tushy     08/25/2024   09/18/2024   PA0002490453
       File Hash:                                                            22:43:45
       98D288567375A85AB05CB40C70AB30A092A4CF2534B700D7FDAE334E0702E3B9
33     Info Hash: A859E49740EC126AEBC3D25A016127FCF7064A76                08/13/2024 Tushy     06/16/2024   07/15/2024   PA0002480649
       File Hash:                                                            23:45:42
       D0AAA9EB49E7B8AF266A15F04B1FCA7F5DD2E94B25A9715986A9B746F48FBF4B
34     Info Hash: 488BE10D4F8BA39E322D0255FF8C05FB670B035F                08/13/2024 Tushy     03/10/2024   04/12/2024   PA0002465216
       File Hash:                                                            20:39:52
       74F3142D99D66C17C282369D9C3BA398A5576BB3077E1C2E5D406F9CFCB46A6E
35     Info Hash: 0756F9035189B999D45679C7E9E4A6459E604FD2                08/13/2024 Tushy     03/31/2024   04/12/2024   PA0002465211
       File Hash:                                                            20:38:57
       0930F9A1E8B9F4D8AE863BD06DF2A810FBA8BD92CB87A898B5EB4F80BB077EEE
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Work   Hashes                                                             UTC          Site     Published    Registered   Registration
36     Info Hash: 57BA08B9A3F933537DA63114C9E83246523FEA89                08/13/2024 Tushy      04/07/2024   04/12/2024   PA0002465210
       File Hash:                                                            20:38:47
       E7194BDE72D99FB510C3E5F3ABB7DBF8C203CBD4C3BF217EC20C451965F64F4F
37     Info Hash: CF32FA7E432DB7B0E09410A8AABFF33AF658328E                08/13/2024 Tushy      07/07/2024   07/15/2024   PA0002480668
       File Hash:                                                            20:38:40
       33FABFE77EC9C3C0C32189658648D1C7BD1EA578D333368A7C1428F2E1EE8A28
38     Info Hash: 8F4A7A6F26712C9A19E1078B598A9A897015AC03                08/13/2024 Tushy      06/30/2024   07/15/2024   PA0002480674
       File Hash:                                                            20:37:42
       BADB929F88BB0BC4398CA8054EDA5BDE52D3FBB7653DB487BFC2DFF6BB9E4556
